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                      Southern DISTRICT OF MISSISSIPPI
                              EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                          CRIMINAL NO. 5:11-cr-1-DCB-FKB

JUAN CARRASCO-SANCHEZ and
ORLANDO QUINTANA ROJANO


                              OPINION AND ORDER

     This cause comes before the Court on Defendants’ Joint Motion to

Suppress [docket nos. 31, 33]. Having carefully considered the

Defendants’        Motion,   the   Government’s     response       thereto,   the

testimony given at the hearings, applicable statutory and case law,

and being otherwise fully advised in the premises, this Court finds

and orders as follows:

                      I. Facts and Procedural History

     Defendants Carrasco-Sanchez (“Sanchez”) and Rojano were arrested

on March 2, 2011 by Officers of the Vicksburg Police Department.

The Defendants were arrested following a routine traffic stop for

speeding and a search of their vehicle revealed ninety-one credit

cards hidden in the vehicle’s dashboard. The Defendants were then

charged     with    possession     of   fifteen   or   more    counterfeit        or

unauthorized access devices with intent to defraud, in violation of

18 U.S.C. § 1029(a)(3). The Defendants have moved to suppress all

evidence recovered in the search of the vehicle, and this Court

held hearings on that Motion on June 9, 2011 and August 12, 2011.

     The underlying facts of the search are as follows. On March 2,
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2011, Officer Young of the Vicksburg Police Department stopped the

Defendants on Interstate 20 for speeding. The Defendants were

driving a 2008 Dodge Caravan that had a paper tag. After pulling

the car over, Young approached the vehicle and asked the driver,

Sanchez, for his licence and the van’s registration.                    Sanchez

handed Young his licence and rental invoice for the van, and Young

returned   to   his   patrol   car.   Upon    inspection    of    the   rental

agreement, Young noticed that the vehicle the Defendants were

driving did not match the vehicle on the rental agreement, which

was listed as a 2011 Chrysler Town and Country.                  Further, the

invoice appeared to have been printed from a computer and was

unlike other rental contracts Young had seen.1           Suspicious of the

contract’s validity, Young immediately radioed for backup. Officer

Young testified that he then called the number on the rental

agreement to investigate the contract’s discrepancy but no one from

the rental company answered his phone call.2 Young also ran a

computer check on Sanchez’s licence but claimed that he did not

initiate a check on the paper tag because, in his experience, it


     1
      At the hearing, Young testified that the rental contract had
“Windows Live” printed at the top of the paper, which made him
particularly suspicious. Nevertheless, the Court observed Officer
Young and finds him to be a credible witness.
     2
        At the second hearing, the Defendant’s introduced Officer
Young's cell phone records that indicate that he did not use his
cell phone to call the rental company after he returned to his
patrol car. They also introduced evidence which indicates that
Young initiated an investigation into the paper tag, contrary to
his testimony in court.

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was unlikely to return any relevant information.

  Shortly thereafter, Sergeant Troy Kimble of the Vicksburg Police

Department arrived, and Young returned to the van to question

Sanchez about the paperwork and his destination. Sanchez responded

that the passenger, Rojano, had rented the vehicle and said they

were traveling to Denver to attend his daughter’s graduation. He

also claimed to have known Rojano for about five years. While

questing Sanchez, Young noticed oranges in the car, which, based on

his training, he knew were often used as making agents for illegal

drugs. At that point, Young requested Sanchez’s permission to

search the vehicle and Sanchez consented, telling Officer Young

that there was nothing illegal in the vehicle. Young asked Sanchez

to exit the vehicle and patted down Sanchez for weapons. Sanchez

consented to the van’s search approximately five minutes after the

initial stop.

   Young then moved to the other side of the vehicle to question

Rojano about the van. While verifying the paperwork, Officer Young

inquired about their destination and his relationship with Sanchez.

Rojano stated that they were traveling from Miami to Denver but

gave a different reason for the trip. Further, he claimed that he

had only known Sanchez for a few weeks. Officer Young informed

Rojano that Sanchez had consented to a search of the van and asked

Rojano whether he had any problem with the search.            Rojano did not

voice any objection and similarly gave his consent. After Rojano


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joined Sanchez at the rear of the van, Officer Young proceeded to

search the vehicle.3

  The video of the arrest shows that Officer Young searched the van

for approximately fifteen seconds, but, before starting his search

in earnest, he returned to the back of the van to reiterate to

Rojano that he was searching the van. Again, it was Sanchez who

responded that there was nothing in the vehicle for him to find and

that Officer Young could proceed. Young renewed his search of the

vehicle. Approximately eight minutes elapsed between the time Young

stopped the vehicle and the beginning of his search.

  Young immediately found two missing screws and a screwdriver on

the floorboard of the van. He also discovered a large quantity of

oranges hidden under the floorboard on both the driver’s and

passenger’s side of the vehicle. Young testified that he was

seeking   to   find   the   location    of    the     missing    screws     but   was

unsuccessful. Young ran his hand along the dashboard directly above

the radio looking for a hidden void. He lifted this part of

dashboard, which popped up, and found four stacks of credit cards,

totaling ninety-one cards, in the recess of the dashboard. Officer

Young questioned the Defendants about the cards, but they both

denied    having   any   knowledge     of    them.     Young    then    placed    the

Defendants under arrest. The entire search lasted approximately


     3
       It is unclear from the testimony before the Court whether
the rental agreement provided by the Defendants was, in fact, a
valid rental agreement.

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twenty-five        minutes.   Following      the    Defendants’       arrest,    the

Vicksburg Police Department impounded the vehicle. The Government

searched the vehicle the next day and discovered another 106 credit

cards hidden in the van’s dashboard.

  The Defendants now move to suppress all the evidence recovered

from their van as the product of an illegal search. The Government

concedes that its inventory search was unlawful and only seeks to

introduce into evidence the credit cards discovered by Officer

Young. In their Motion, the Defendants offer two reasons why the

evidence discovered by Officer Young should be suppressed: (1) the

extension     of    the    stop   to   search      the    vehicle    violated    the

Defendants’ Fourth Amendment rights, and (2)the Defendants’ consent

was not voluntarily and freely given.

                                  II. Analysis

1. Whether Officer Young Had A Reasonable Suspicion to Extend the
Initial Traffic Stop

  The Supreme Court articulated a two-part inquiry for analyzing

the legality of traffic stops in Terry v. Ohio. See United States

v. Pack, 612 F.3d 341, 350-51 (5th Cir. 2010)(citing Terry, 391

U.S. 1 (1968)). First, the court must consider whether the initial

traffic   stop      was   justified.   Pack,    612      F.3d   at   350   (citation

omitted). Secondly, the court must determine whether the officer’s

subsequent search of the vehicle was reasonably related in scope to

the reason the officer stopped the vehicle in the first place. Id.

(citation omitted). However, if the officer develops a reasonable

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suspicion    of    additional        criminal       activity     during     his    lawful

investigation, the officer may further detain the suspects for a

reasonable    time      in   order    to    dispel       this   suspicion.        Id.   The

Defendants argue that the constitutionality of the Government’s

search fails under second-prong of the Terry analysis because

Officer    Young     failed    to     develop       a    reasonable       suspicion      of

additional    criminal       activity       during      his   investigation        of   the

initial traffic violation.

   “[A] search is not reasonably related to the circumstances

justifying a traffic violation stop when the search in question

occurs after the time required for an officer to issue a citation

(or to decide against doing so) and to complete a ‘computer check’

for outstanding warrants and vehicle theft.” United States v.

Cavitt, 550 F.3d 430, 436 (5th Cir. 2004). When investigating a

traffic stop, an officer may (1) request a driver’s licence,

insurance papers, and vehicle registration, (2) run a computer

check and issue a citation, and (3) detain and question the

subjects of a traffic stop during the time a computer check is

being conducted. Id. (citing United States v. Santiago, 310 F.3d

336, 341-42 (5th Cir. 2000)).

  In order to extend the stop beyond the scope of the initial

investigation, an officer must develop a reasonable suspicion that

“criminal activity [is] afoot”. Pack, 612 F.3d at 355 (citing

United    States   v.    Arvizu,      534    U.S.       273   (2002)).    An   officer’s


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suspicion is deemed reasonable if he can identify particular

evidence that suggests that a crime has been committed. Id. at 355

(citing     Brown     v.   Texas,     443       U.S.   47,    51   (1979)).        The

reasonableness of the prolonged detention is measured in objective

terms based on the totality of the circumstances. United States v.

Escareno-Sanchez, 507 F.3d 877, 882 (5th Cir. 2007), vacated on

other grounds, 553 U.S. 1029 (2008).

  In the instant case, the underlying facts, when considered

together, created a reasonable suspicion for Officer Young to

extend the stop beyond the time necessary to issue the Defendants

a traffic citation.        Two circumstances in particular justified a

prolonged    stop.4    First,   the    rental      invoice     listed    the   rental

vehicle as a 2011 Town and Country, which did not match the 2008

Dodge Caravan the Defendants were driving. Upon closer inspection,

it appeared to Officer Young that the invoice had been printed off

the internet, unlike any other agreement that he had encountered.

Officer Young testified at the first hearing that the contract did


     4
       There is some question as to whether the presence of oranges
triggered Officer Young’s suspicion that there might be drugs in
the van. Officer Young testified that, upon his first inspection of
the vehicle, he noticed oranges and concluded that “something just
[didn’t] feel right.” Further, he testified that oranges are often
used as masking agents for drugs. When         specifically asked,
however, whether his discovery of oranges in the van’s floorboard
alerted him to the possible presence of drugs, he stated that he
did not have a reasonable suspicion that drugs were present;
instead, he claimed the large quantity of oranges in the floorboard
simply appeared “odd.” Because Young’s testimony was equivocal on
this point, the Court will not factor this unusual circumstance
into its Terry-stop analysis.

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not seem to be “legit” and became suspicious that the Defendants

were not legally in possession of the vehicle. Based on that

initial suspicion, Officer Young returned to the van to question

the Defendants about the discrepancy between the van listed on the

contract and the van the Defendants were driving.

  Secondly,    when    Officer   Young   questioned    Sanchez      about   his

ultimate destination and his relationship with Rojano, Sanchez

stated he had known the Defendant for five years and claimed that

they were traveling to Denver for his daughter’s graduation.

Rojano, on the other hand, gave a different explanation for the

trip and claimed that he had only been acquainted with Sanchez a

few   weeks.   The    conflicting    stories   as     to   the    Defendants’

destination alone would not give rise to a reasonable suspicion.

However, the widely divergent responses concerning the length of

the Defendant’ relationship was sufficient to arouse a reasonable

suspicion that the Defendants had something to hide. In contrast to

the   Defendants’     inconsistent   stories   in   Jones,      Santiago,   and

Estrada that the Fifth Circuit deemed “too minor and insignificant

to give rise to any reasonable suspicion of any criminal activity,”

Young was justified in concluding from the Defendants’ responses

that criminal activity was afoot. Pack, 612 F.3d at 360 (emphasis

in original); see United States v. Estrada; 459 F.3d 627 (5th Cir.

2006); United States v. Jones, 234 F.3d 234 (5th Cir. 2000); United

States v. Santiago, 310 F.3d 336 (5th Cir. 2002).


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  Finally, only five minutes had elapsed before Officer Young

obtained consent from Sanchez to search the vehicle.                While this

relatively short length of time is not dispositive, it was not an

unreasonable amount of time for Young to investigate the initial

traffic violation. Officer Young was in the process of dispelling

his concerns about the paperwork, which arose during his initial

traffic stop, and was well within bounds to return to the vehicle

to question the van’s occupants about the obvious inconsistency in

order to satisfy his concerns. When he did so, the Defendants

provided conflicting information about their relationship. Taken

together,   the    faulty   paperwork     followed    by    the    Defendants’

inconsistent stories naturally raised a reasonable suspicion as to

whether the Defendants legally possessed the vehicle. Therefore,

this Court finds that Young’s decision to request permission to

search the vehicle upon developing a reasonable suspicion of

criminal activity did not violate the Defendants’ Fourth Amendment

rights.

   2. Whether     the   Defendants’   Consent    To   Search      the   Car   Was
Voluntary.

  A search may not constitute a Fourth Amendment violation “even

when reasonable suspicion does not justify the search.” Cavitt, 550

F.3d 430, 438 (5th Cir. 2008). Furthermore, “consensual encounters

‘do not implicate Fourth Amendment concerns,’ and ‘a consensual

interrogation may follow the end of a valid traffic stop.’” Id.

(citing United States v. Brigham, 382 F.3d 500, 508 (5th Cir.

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2004)).

  The Defendants do not contest the fact that they consented to

Officer Young’s search of the vehicle; instead, they claim their

consent was involuntarily and a product of their illegal detention.

See Santiago, 310 F.3d at 343. Whether the Defendants voluntarily

consented is a question of fact that must be determined by the

totality of the circumstances. Cavitt, 550 F.3d at 439. Courts are

to consider six specific factors when determining whether consent

was voluntary, although no single factor is dispositive. Id.

(citing United States v. Jenson, 462 F.3d 399, 406 (5th Cir.

2006)).

  (1) The voluntariness of the Defendants’ custodial status. The

Defendants argued at the second hearing that because Officer Young

maintained possession of their licence and rental agreement as he

was asking for their consent, their custodial status was not

voluntary. The Court finds that, for the reasons stated above, the

Defendants were not detained beyond a reasonable time necessary for

Officer Young to satisfy his concerns about the paperwork and the

inconsistent stories they provided. Young was in the process of

dispelling his own suspicion about the rental agreement when he

asked Sanchez if he could search the vehicle. Similarly, Young

obtained Rojano’s consent as he contemporaneously verified the

information on the rental contract.

  Taking into account Officer Young’s reasonable suspicion of the


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contract’s authenticity and the fact that Sanchez consented to the

search within five minutes of the initial stop, the circumstances

do not suggest that the Defendants’ consent was a product on their

custodial status. Brigham, 382 F.3d at 511 (holding that officers

must “diligently pursue[] a means of investigation . . . likely to

confirm or dispel their suspicions quick” but are not timed by a

“constitutional stopwatch”).

  (2) The presence of coercive police procedures.                   Here, the

Defendants   do   not   allege,   and    neither   is   their    evidence       to

indicate, that Officer Young coerced the Defendants into giving

their consent. Based on the video evidence of the traffic stop,

Sanchez appears to have given his consent without much prompting by

Officer Young. Similarly, Rojano did not protest Young’s request to

search the vehicle. The fact the Officer Young requested permission

to search the vehicle a third time, shortly after beginning the

search, demonstrates the care Young took in order to ensure that

their consent was a product of their free-will.

  (3) The extent and level of the Defendants’ cooperation with the

police. Again, both Sanchez and Rojano, at all times, complied with

Officer Young’s requests. When Officer Young first asked Sanchez if

he could search the van, Sanchez immediately consented and complied

with Officer’s Young’s request to exit to the back of the van so he

could proceed. Rojano, for his part, voiced no objection to the

search and seemed content to join Sanchez at the rear of the


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vehicle.   Neither of the Defendants gave any verbal or physical

indication of a desire to refuse, and in fact, Sanchez twice

responded that they had nothing to hide. By all indications, the

Defendants were compliant.

  (4) The Defendants’ awareness of their right to refuse consent.

The Defendants challenge the voluntariness of their consent under

this prong, claiming that (1) Officer Young never informed them of

their right to refuse and, had he done so, (2) they would not have

been unable to understand him because of their difficulty with

English. The Court recognizes that Young did not articulate to the

Defendants that they had a right to refuse; however, the Court does

not find merit in the Defendants’ claim that they failed to

comprehend that Young was seeking their permission to search their

vehicle.

  Officer Young asked the Defendants three times for permission to

search the vehicle. Again, the video evidence clearly depicts

Officer Young asking permission from Sanchez to search their

vehicle. Nothing from his demeanor on the videotape suggests that

Young was pressuring Sanchez into consenting. Similarly, Rojano

appeared to understand that Sanchez had given his permission to

search the van and also consented Young’s request. Further, before

he began searching the vehicle, Officer Young returned to the

Defendants to once again seek their permission. The Defendants

could have reasonably inferred from his actions that they had a


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right to refuse his last request. Nevertheless, Sanchez showed no

hesitation about affirming his original permission¯he stated, for

the second time, that he believed Officer Young would find nothing

illegal.

  (5) The Defendants’ education and intelligence. The Defendants’

particular level of education is not part of the record. It is

arguable whether the Defendants’ inability to speak English weighs

in their favor. At the hearing, Defendant Rojano requested the use

of an interpreter to understand the court proceedings. The Court

notes, however, that Officer Young testified that the Defendants

had no difficulty communicating with him. And more importantly, as

stated in the fifth factor, the video evidence suggests that the

Defendants   appeared   to     adequately     comprehend    Officer     Young’s

request and also comported themselves in a manner consistent with

an intelligent and reasonable person.

(6) The Defendants’ belief that no incriminating evidence will be

found. During the entire stop, the Defendants appeared restless but

not necessarily unnerved by the stop. Their behavior does not

indicate either way whether they actually believed Officer Young

would find credit cards hidden in the dash. Sanchez, however, twice

consented to Officer’s Young’s search, both times asserting that

his search would be fruitless. These two statements, coupled with

Sanchez’s relatively unconcerned demeanor under the circumstances,

are enough to indicate that Sanchez did reasonably believe that no


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incriminating evidence would be found.

  After considering the following six factors, the Court finds that

the Defendants voluntarily consented to Officer Young’s search of

the van, and therefore, Officer Young’s subsequent search did not

violate the Defendants’ Fourth Amendment rights. Accordingly, all

evidence recovered during Officer Young’s search of the van is

admissible. Because the Government concedes that the inventory

search   following   the   impoundment    of    Defendants’      vehicle    was

unlawful, the Court grants the Defendants’ Motion to Suppress the

106 credit cards recovered during that search.

                               III. Order

  IT IS HEREBY ORDERED that the Defendants’ Joint Motion to

Suppress [docket entry nos. 31, 33] are GRANTED in part and DENIED

in part.

  SO ORDERED, this the 8th day of September 2011.

                                              /s/David Bramlette
                                         ____________________________
                                         UNITED STATES DISTRICT JUDGE




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